                Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 1 of 11



 1                                                                     The Honorable Thomas S. Zilly
 2
 3
 4
 5
 6
 7
 8                              UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
10        STRIKE 3 HOLDINGS, LLC, a Delaware           Case No. 2:17-cv-01731-TSZ
          corporation,
11                                                     STRIKE 3 HOLDINGS, LLC’S REPLY IN
                                         Plaintiff,    SUPPORT OF MOTION TO DISMISS
12                                                     DEFENDANT JOHN DOE’S FIRST
                                                       AMENDED COUNTERCLAIMS
                v.
13
14        JOHN DOE, subscriber assigned IP             NOTE ON MOTION CALENDAR:
          address 73.225.38.130,                       JUNE 22, 2018
15
                                      Defendant.
16

17
     I.       INTRODUCTION
18
              Defendant John Doe’s rambling Opposition does not advance any cogent factual or legal
19
     arguments as to why any of his counterclaims state an actionable claim upon which relief can be
20
     granted. The Court should dismiss Defendant’s counterclaims for multiple reasons, and should
21
     do so with prejudice.
22
              First, Defendant’s declaratory relief claim of non-infringement is simply a mirror image
23
     of Plaintiff’s claim for copyright infringement and an impermissible offensive counterclaim that
24
     purports to require Plaintiff to defend itself against an unknown party. Defendant’s non-
25
     infringement “counterclaim” is really just a defense to Plaintiff’s infringement claim.
26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                    FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 1                          1001 FOURTH AVENUE, SUITE 4500
                                                                                               SEATTLE, WA 98154
                                                                                                    206.624.3600


     57138018.v1
     58580731.v1
               Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 2 of 11




 1           Second, Defendant still fails to plead any facts to support a plausible claim that Plaintiff
 2 is misusing its copyrights in some purported monopolistic way to gain an unfair competitive
 3 advantage in the industry. To the contrary, Plaintiff’s prosecution of rampant, widespread and
 4 damaging copyright infringement preserves the marketplace for not only Plaintiff’s films, but
 5 also all other copyright holders and film makers worldwide. This action and the others pursued
 6 by Plaintiff sends a very clear message to all those who would go to BitTorrent or other such
 7 sites to illegally download Plaintiff’s films or any other copyrighted work: this practice is theft, it
 8 will get you sued, and you will be held accountable.

 9           Third, Defendant’s abuse of process claim fails to allege any facts to state a plausible
10 claim that Plaintiff is somehow exploiting this lawsuit to obtain relief beyond that which is
11 expressly authorized by the Copyright Act upon a showing of infringement. Rather, Plaintiff is
12 simply suing to enjoin infringement of its copyrights and collect damages, two remedies
13 expressly permitted under the Copyright Act. Plaintiff is properly “using process” to obtain
14 relief routinely provided under the Copyright Act, it is not “abusing” process in any way.
15 Defendant’s counterclaims are not cognizable legal theories, nor do they contain sufficient facts
16 to support these supposed actionable counterclaims.
17           Accordingly, Plaintiff respectfully requests this Court dismiss all of Defendant’s
18 counterclaims with prejudice, and without leave to amend.1
19 II.       AUTHORITY & ARGUMENT
20
             A.       Defendant’s Declaration of Non-Infringement Claim is Procedurally
21                    Improper and Manifestly Inequitable.

22           Plaintiff’s Motion presented abundant case law authorizing a district court to dismiss a

23 declaration of non-infringement counterclaim where the question of whether defendant infringed
24 plaintiff’s copyrights would be decided by plaintiff’s infringement claim. See Dkt. # 35 at pp. 3-4
25   1
       Defendant does not request leave to amend in his Opposition nor does he assert how he could cure his claims and
     thus concedes that dismissal with prejudice is appropriate.
26
         REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                 FOX ROTHSCHILD LLP
         AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 2                                       1001 FOURTH AVENUE, SUITE 4500
                                                                                                           SEATTLE, WA 98154
                                                                                                                206.624.3600


     57138018.v1
     58580731.v1
                 Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 3 of 11




 1 citing Atl. Recording Corp. v. Serrano, No. 07-cv-1824, 2007 WL 4612921, at *4 (S.D. Cal.
 2 2007); Wilton v. Seven Falls Co., 515 U.S. 277, 288 (1995); Tenneco Inc. v. Saxony Bar & Tube,
 3 Inc., 776 F. 2d 1375, 1379 (7th Cir. 1985); Stickrath v. Globalstar, Inc., No. C07-1941-TEH,
 4 2008 WL 2050990, at *3 (N.D. Cal. 2008); Pettrey v. Enter. Title Agency, Inc., No. 1:05-cv-1504,
 5 2006 WL 3342633, at *3 (N.D. Ohio 2006) (affirming the “mirror image” rule). Defendant’s
 6 declaration of non-infringement “counterclaim” is not an offensive claim, but rather a defense or
 7 denial of Plaintiff’s infringement claim. When Defendant answers Plaintiff’s amended complaint,
 8 he is free to deny any infringement and/or assert non-infringement as an affirmative defense. But

 9 attempting to advance his defense as an offensive “counterclaim” is inappropriate.
10              Defendant dodges this authority and concedes the Court has discretion to dismiss his
11 counterclaim for redundancy but argues the Court should not do so because he has not answered
12 Plaintiff’s complaint or forthcoming amended complaint. See Dkt. # 37 at p. 3. Defendant
13 wrongly concludes that since Plaintiff may elect to forego filing an amended complaint,
14 Defendant’s counterclaim for declaratory relief should survive. This reasoning overlooks the fact
15 that Plaintiff’s complaint has not been dismissed. Plaintiff is merely required to amend its
16 complaint within the time set by the Court, and if it declines this invitation then Defendant is
17 welcome to file his own suit for declaratory relief and seek whatever attorney’s fees or costs to
18 which he believes he is entitled. See UMG Recordings, Inc. v. DivX, Inc., No. CV 07-06835,
19 2008 WL 11338802, at *4-5 (C.D. Cal. Aug. 22, 2008) (dismissing copyright defendant’s

20 counterclaim for a declaration of non-infringement because the assertions therein were
21 “identical” to those in the answer and finding defendant could file an action for declaratory relief
22 if plaintiff moves to dismiss without prejudice).2 Accordingly, dismissing Defendant’s
23
     2
         Defendant’s reliance on Judge Otis Wright’s opinion in Malibu Media, LLC v. John Does 1 through 10, 2012 WL
24 53832304, at *3-4 (C.D. Cal. 2012) is misplaced. Judge Wright denied Malibu Media’s motion to dismiss due to
     concern that removing the declaratory relief counterclaim would permit Malibu Media to voluntarily dismiss the suit
25 and only incur the costs of “a single filing fee, a bit of discovery, and stamps,” while the defendant would be left to
     cover his own fees and costs. Id. Judge Wright reasoned “by requiring Malibu to file separate lawsuits for each of
26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                    FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 3                                         1001 FOURTH AVENUE, SUITE 4500
                                                                                                              SEATTLE, WA 98154
                                                                                                                   206.624.3600


     57138018.v1
     58580731.v1
                 Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 4 of 11




 1 counterclaim at this stage as premature does not cause the Defendant any prejudice but rather
 2 permits this litigation to ripen without complicating it with a redundant cause of action.
 3             Further, in the event that Plaintiff elects not to amend its complaint or if its complaint is
 4 ultimately dismissed, failure to dismiss this counterclaim subjects Plaintiff to the inequity of
 5 having to defend itself against an unknown plaintiff. Rule 10(a) of the Federal Rules of Civil
 6 Procedure requires that the title of every complaint “include the names of all the parties.” Courts
 7 find prejudice against the defendant “where a plaintiff’s anonymity interferes with the
 8 defendant’s ability to address specific allegations against it or is logistically impracticable.” See,

 9 e.g., Publius v. Boyer-Vine, 321 F.R.D. 358, 365 (E.D. Cal. 2017). Anonymity should not
10 prejudice the opposing party’s ability to litigate the case. Does 1 thru XXIII v. Advanced Textile
11 Corp., 214 F. 3d 1058, 1069 (9th Cir. 2000).3 If Defendant remains anonymous and his
12 counterclaim(s) are maintained, prejudice to Plaintiff will follow. For example, Plaintiff cannot
13
14 the Doe Defendants, Malibu will have to expend additional resources to obtain a nuisance-value settlement.” Id.
15 In contrast, here Plaintiff has spent these “additional resources” to the tune of tens of thousands of dollars briefing a
     motion for early discovery (Dkt. # 4), preparing an opposition to Defendant’s voluminous motion for more definite
16 statement (Dkt. # 21 & 26), and briefing two motions to dismiss Defendant’s various counterclaims (Dkt. # 24 &
     35), inter alia. Plaintiff has vigorously litigated this matter, as well as many of the other infringement actions it has
17 filed nationwide, to protect its copyrighted works from continued torrent infringement – not to collect a “nuisance-
     value settlement.” Plaintiff is prepared to litigate this action to trial if that is what it takes to terminate Defendant’s
18 rampant infringement. Moreover, Defendant admits he is not an “average defendant” and can afford to engage
     Plaintiff in costly litigation, which he has done. Dkt. # 37 at p. 2. Accordingly, Judge Wright’s concerns do not
19 apply to this case under these circumstances.

20   3
       A plaintiff may be permitted to file anonymously under special circumstances when “nondisclosure of the party is
     necessary to protect a person from harassment, injury, ridicule or personal embarrassment.” Doe v. Amazon.com,
21   Inc., 2011 WL 13073281, at *2 (W.D. Wash. 2011). However, even if Defendant claims here that revealing his
     identity would subject him to harassment, injury, ridicule, or embarrassment caused by the public (which he cannot
22   as the alleged harm, if non-physical, must be “extreme” see Id. at *3), Defendant suffers no risk of serious harm if
     his identity is solely disclosed to Plaintiff and the Court. See also Doe v. State Bar of Cal., 415 F. Supp. 308, 309
23   fn. 1 (N.D. Cal. 1976) (finding courts look with “great disfavor” upon anonymous pleadings where plaintiff conceals
     his identity to avoid a “possible adverse impact on his reputation.”). Moreover, this Court has already entered a
24   protective order maintaining Defendant’s privacy and anonymity, but Defendant remains masked (which is curious
     since Defendant vehemently pleads his innocence yet remains concealed as if he has something to hide). Dkt. # 17
25   & 20.

26
         REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                         FOX ROTHSCHILD LLP
         AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 4                                               1001 FOURTH AVENUE, SUITE 4500
                                                                                                                   SEATTLE, WA 98154
                                                                                                                        206.624.3600


     57138018.v1
     58580731.v1
                  Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 5 of 11




 1 identify witnesses related to Defendant who may have information helpful to Plaintiff’s defense,
 2 cannot depose Defendant, and cannot engage in meaningful discovery while blindfolded.
 3              In sum, Defendant’s non-infringement counterclaim fails because it is a mirror image of
 4 Plaintiff’s copyright infringement claim, involves identical factual and legal issues, and serves no
 5 useful purpose aside from needlessly complicating this litigation. Further, Defendant’s
 6 counterclaim should be dismissed because it is a thinly veiled attempt to lock Plaintiff into a
 7 litigation in which Plaintiff may be forced into the inequitable circumstance of having to defend
 8 itself against an unknown plaintiff. 4

 9              B.       Defendant’s Copyright Misuse Claim is Meritless and Unintelligible.
10              Incredibly, Defendant’s Opposition devotes over two pages to arguing that Plaintiff is
11 somehow misusing its copyrights by simply filing an action for copyright infringement.
12 Defendant is flat wrong. In doing so, Defendant bemoans Plaintiff’s alleged strategic decision
13 not to issue a slew of notices under the Digital Millennium Copyright Act (“DMCA”) and
14 incorrectly concludes that Plaintiff’s alleged “sue and settle model” violates the public interest.
15 Dkt. # 37 at pp. 4-6. As illustrated in its Motion, Plaintiff has good reason for electing to sue the
16 individuals infringing its copyrights rather than utilize the DMCA process, particularly when
17 overwhelming empirical evidence demonstrates that the majority of users do not cease their
18 infringing activities even after receiving multiple notices and warnings. 5 Dkt. #35 at p. 8, fn. 4.
19
     4
         If the Court denies Plaintiff’s motion to dismiss Defendant’s counterclaim for declaratory relief, or any of
20 Defendant’s counterclaims for that matter, Plaintiff respectfully requests that the Court order Defendant to
     immediately reveal his identity (subject to the protective order of course) so that Plaintiff can prepare an adequate
21 defense.
22   5
       Plaintiff, in fact, has employed the DMCA process and has caused millions of notices to be sent to BitTorrent sites
     worldwide within the past two years, but this strategy has proved largely ineffective as a means to significantly
23   reduce infringement. Declaration of Emilie Kennedy (“Kennedy Decl.”) ¶7. Indeed, Defendant himself references
     the Greg Lansky declaration in which Mr. Lansky states that approximately 50,000 DMCA notices are routinely sent
24   out by Plaintiff every month, yet Defendant merely concludes that this evidence somehow “stands in stark contrast
     to the true facts and motivations behind this case.” Dkt. #37 at p. 8. Defendant, unsurprisingly, offers no facts or
25   any basis for this allegation.

26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                      FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 5                                            1001 FOURTH AVENUE, SUITE 4500
                                                                                                                 SEATTLE, WA 98154
                                                                                                                        206.624.3600


     57138018.v1
     58580731.v1
                  Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 6 of 11




 1 Tellingly, Congress did not make the DMCA notice/takedown procedure mandatory for
 2 copyright holders. Rather, it was created as a relatively simple, low-cost alternative to litigation
 3 that a copyright holder may use to protect works from online infringement. The fact that
 4 Defendant vehemently disagrees with Plaintiff’s decision to instead file a lawsuit to defend its
 5 works merely shows how effective litigation can be to deter continued infringement. It is not a
 6 misuse of copyrights to file suit, but rather a proper use of process to protect those copyrights.6
 7              Moreover, the sole case upon which Defendant bases his argument, Morton Salt Co. v. G.
 8 S. Suppiger Co., 314 U.S. 488, 490 (1942), is inapposite to this action. In Morton Salt, the U.S.

 9 Supreme Court presumed a party who used a patent to restrain the sale of salt tablets in
10 competition with its own sale of unpatented tablets substantially lessened competition for its
11 products and thereby abused the patent.7
12              Conversely, in this present action, Defendant makes no allegations (nor could he) that
13 Plaintiff having brought a routine copyright infringement action against an illegal downloader is
14 “restraining competition” in the marketplace for adult films. Id. Instead, the litigation Plaintiff
15 and other motion picture production companies have shouldered to stop and prevent rampant
16 widespread infringement helps protect the marketplace for all films and all copyrighted works by
17 ensuring their production remains a profitable endeavor not destroyed by online theft. See Dkt. #
18
     6
19     The exact course of conduct that Defendant assails was specifically endorsed by the former U.S. Register of
     Copyrights, Marybeth Peters, in a statement on the DMCA: “[w]hile we would like to think that everyone obeys the
20   law simply because it is the law and out of a sense of obligation, we also know that laws without penalties may be
     widely ignored. For many people, the best form of education about copyright in the internet is the threat of
21   litigation… Copyright owners have every right to enforce their rights in court, whether they are taking action
     against providers of peer-to-peer services designed to profit from copyright infringement or against the persons
22   engaging in individual acts of infringement using such services.” Statement of Marybeth Peters before the
     Committee on the Judiciary, U.S. Senate 108th Congress, 1st Session (Sept. 9, 2003) (emphasis added).
23
     7
         Morton Salt was later abrogated by Illinois Tool Works Inc. v. Independent Ink Inc., 547 U.S. 28, 42-43 (2006),
24 which found that tying arrangements involving patented products are not per se unlawful and that such a contention
     of patent abuse must be supported by “proof of power in the relevant market.” Defendant has not alleged any facts
25 whatsoever here that this litigation has the power to curb or adversely affect the market for adult films.
26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                    FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 6                                          1001 FOURTH AVENUE, SUITE 4500
                                                                                                                SEATTLE, WA 98154
                                                                                                                     206.624.3600


     57138018.v1
     58580731.v1
                  Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 7 of 11




 1 35 at pp. 4-6; UMG Recordings, Inc. v. Lindor, 531 F. Supp. 2d 453, 459 (E.D.N.Y. 2007)
 2 (“Collectively bringing infringement suits… exhibits none of the hallmarks of anticompetitive
 3 copyright pooling, and cannot be classified as such.”); Oracle USA, Inc. v. Rimini St., Inc., 879
 4 F. 3d 948, 957 (9th Cir. 2018) (holding that the copyright misuse doctrine cannot prohibit using
 5 conditions to control the use of copyrighted material); Malibu Media, LLC v. Doe, No. 13 C
 6 3648, 2014 WL 2581168, at *2 (N.D. Ill. June 9, 2014) (finding that, for example, Coach, Inc.
 7 filing 57 lawsuits over four years naming hundreds of entities as defendants to be an undoubtedly
 8 appropriate means to combat mass infringement).8

 9              Thus, Defendant is simply accusing Plaintiff of misusing its copyrights by suing to
10 protect those very copyrights against infringement. Such a suit by Plaintiff is expressly
11 authorized by and squarely within the scope of the Copyright Act. Plaintiff is properly using the
12 legal process, not misusing it. Defendant’s counterclaim for copyright misuse fails as a matter of
13 law and should be dismissed with prejudice.
14              C.       Defendant’s Specious Claim for Abuse of Process Defies Both Law and Fact.
15              Defendant alleges that this action constitutes “extortion through sham litigation” and
16 bases his claim for abuse of process on a baseless conspiracy theory. See Dkt. # 32 at ¶¶ 52-74.
17 The “facts” upon which Defendant claims support this theory are not facts at all, but rather
18 speculative assumptions and suppositions Defendant makes as to Plaintiff’s purported motivation
19 in bringing this suit—all of which are debunked by Plaintiff’s Motion. 9 Dkt. #35 at pp. 7-9.

20
     8
         Defendant does not address this authority or provide any explanation for why Plaintiff’s litigation strategy should
21 be construed as “copyright misuse” while more mainstream brands like Coach and Microsoft can execute the same
     strategy without question as to its legitimacy. See, e.g., Microsoft Corp v. Does 1-10, 2017 WL 5548641 (W.D.
22 Wash. 2017); Microsoft Corp v. Does 1-10, 2018 WL 263313 (W.D. Wash. 2018); Microsoft Corp v. Does 1-10,
     2016 WL 10637083 (W.D. Wash. 2016); Microsoft Corp v. Does 1-10, 2017 WL 4958047 (W.D. Wash. 2017);
23 Microsoft Corp v. Does, 2015 WL 12930800 (W.D. Wash. 2015); Microsoft Corp v. Does 1-10, 2017 WL 2345550
     (W.D. Wash. 2017); Microsoft Corp v. Does, 2015 WL 12930822 (W.D. Wash. 2015); Microsoft Corp v. Does 1-10,
24 2017 WL 1133965 (W.D. Wash. 2017); Microsoft Corp v. Does, 2016 WL 9526409 (W.D. Wash. 2016).
25   9
      Defendant continues the false narrative that because Strike 3 chose litigation over the DMCA notice/takedown
     mechanism that, somehow, Strike 3 is “abusing the process.” Yet, even if this were true, Strike 3 has caused
26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                      FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 7                                           1001 FOURTH AVENUE, SUITE 4500
                                                                                                                SEATTLE, WA 98154
                                                                                                                     206.624.3600


     57138018.v1
     58580731.v1
                Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 8 of 11




 1            Defendant concocts a few additional allegations in his Opposition that are worth noting to
 2 demonstrate the baseless nature of his abuse of process counterclaim. He contends that Plaintiff
 3 has purposely sued users in districts “with the highest average salary and where Strike 3 can
 4 shake the ‘money tree.’” Dkt. # 37 at p. 2. Defendant offers no substantiation for this claim;
 5 rather, he is making all of this up as he goes.10 Plaintiff has filed lawsuits against defendants
 6 whose IP addresses trace to cities with a widespread variety of demographics throughout the
 7 country. See Kennedy Decl. ¶13, Ex. A. Plaintiff also is only able to identify users by their IP
 8 address and has no knowledge as to a certain user’s annual income or respective wealth,

 9 notwithstanding the fact that such information is entirely irrelevant to whether the user infringed
10 Plaintiff’s copyrights. Defendant further claims that Plaintiff’s litigation efforts constitute a
11 “business model” from which it can monetize its copyrights by suing and inducing an “easy
12 settlement.” Dkt. #37 at p. 6. Wrong again. There is nothing easy or cheap about conducting
13 national litigation to enjoin rampant infringement of Plaintiff’s works. Plaintiff also (for the
14 umpteenth time) is not interested in collecting token settlements; its goal is to protect its valuable
15 works from continued torrent infringement.
16            Notwithstanding the foregoing, Defendant’s abuse of process claim fails as a matter of
17 law. The case that Defendant claims is the “leading case” for abuse of process, Bellevue Farm
18 Owners Ass’n v. Stevens, 198 Wash. App. 464 (2017), cites Restatement (Second) of Torts § 682
19 which states:

20
21
     millions of DMCA notices to be sent to BitTorrent sites and users but found litigation necessary to curb
22 infringement. Kennedy Decl. ¶7. Strike 3 has every right to sue Defendant and other individuals who infringe its
     works. This is called “use of process.”
23   10
       Defendant cites to the Declaration of Kiren Rockenstein (“Rockenstein Decl.”) to support this claim, yet the
     veracity of this declaration is dubious. First, Ms. Rockenstein is not listed as co-counsel of record for Defendant in
24   this action on the docket viewable by Public Access to Court Electronic Records (“PACER”) as she claims, and a
     copy of the Excel spreadsheet reflecting a “master database” of the infringements in cases filed in this district which
25   was allegedly used to calculate the interval between the first observed instance of infringement and the date of suit
     (as if that matters) is conspicuously absent from Defendant’s papers. Rockenstein Decl. ¶¶ 2, 9.
26
          REPLY ISO MOTION TO DISMISS DEFENDANT’S                                                    FOX ROTHSCHILD LLP
          AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 8                                          1001 FOURTH AVENUE, SUITE 4500
                                                                                                               SEATTLE, WA 98154
                                                                                                                    206.624.3600


     57138018.v1
     58580731.v1
               Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 9 of 11



             “For abuse of process to occur there must be use of the process for an immediate purpose
 1
             other than that for which it was designed and intended… [such as] using the process to
 2           put pressure on another to compel him to pay a different debt or to take some other action
             or refrain from it.” [emphasis added].
 3
             Plainly, that is not the situation here. Plaintiff is using the legal process to enjoin
 4
     Defendant from infringing its copyrighted works and to recover statutory damages that are
 5
     expressly authorized by the Copyright Act and routinely awarded in copyright infringement
 6
     actions. Plaintiff is not using this suit to accomplish anything other than what an ordinary
 7
     copyright action is designed to do, and, in fact, is doing exactly what the federal government has
 8
     encouraged copyright holders to do. See fn. 6, supra. Moreover, even if Plaintiff’s main
 9
     objective was to induce small settlements from individual users as a means of mitigating its
10
     damages and discouraging prospective infringement, it has every right to do so since it is not
11
     putting pressure on Defendant to pay a debt different from that which this action is designed to
12
     impose. Defendant’s abuse of process counterclaim is nothing more than a bombastic argument
13
     of counsel—it is not an actionable counterclaim.
14
             Defendant’s abuse of process claim is facially untenable and runs contrary to the bedrock
15
     principles of copyright and intellectual property law. It is axiomatic that prosecuting a group of
16
     people who have committed blatant and wholesale infringement of one’s intellectual property
17
     and pursuing damages expressly recoverable by statute is entirely proper and lawful. It is not “a
18
     scheme to extort” or an “abuse of process.” The Court should dismiss Defendant’s abuse of
19
     process counterclaim. It fails factually and legally.
20
             D.      Defendant’s Amended Counterclaims Should Be Dismissed With Prejudice
21                   and Without Leave to Amend.
22           Defendant’s Opposition completely ignores and fails to address Plaintiff’s argument that
23 if his counterclaims are dismissed, they should be dismissed with prejudice and without leave to
24 amend. Defendant has thus conceded this point. Digby Alder Group, LLC v. Mercedes-Benz
25 U.S.A., LLC, 2015 WL 5138080, at *2 (N.D. Cal. 2015) (holding party’s failure in its opposition
26
       REPLY ISO MOTION TO DISMISS DEFENDANT’S                                           FOX ROTHSCHILD LLP
       AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 9                                 1001 FOURTH AVENUE, SUITE 4500
                                                                                                   SEATTLE, WA 98154
                                                                                                        206.624.3600


     57138018.v1
     58580731.v1
              Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 10 of 11




 1 papers to respond to argument advanced in motion to dismiss concedes the argument);
 2 Kryzanowski v. Wyndam Hotels and Resorts, LLC, 2014 WL 895449, at *3 (S.D. Cal. 2014)
 3 (finding party’s failure to address argument concedes its validity).
 4 III.      CONCLUSION
 5           Defendant’s meritless counterclaims can be summed up in seven words: “I am upset that
 6 you sued me.” That does not state a claim. If Defendant wants to address the allegation that he
 7 committed rampant infringement of Plaintiff’s works, he can file an Answer. Defendant is free
 8 to attempt to mount a defense, but trying to do so through meritless counterclaims is

 9 inappropriate and the Court should not allow it. Defendant’s baseless counterclaims should be
10 dismissed entirely with prejudice and without leave to amend.
11           DATED this 22nd day of June, 2018.
12
                                              FOX ROTHSCHILD LLP
13
14                                              s/ Bryan J. Case
                                              Bryan J. Case, WSBA #41781
15                                            Lincoln D. Bandlow, admitted Pro Hac Vice (CSBA
                                              #170449)
16                                            Attorneys for Plaintiff
17
18
19

20
21
22
23
24
25
26
       REPLY ISO MOTION TO DISMISS DEFENDANT’S                                    FOX ROTHSCHILD LLP
       AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 10                         1001 FOURTH AVENUE, SUITE 4500
                                                                                            SEATTLE, WA 98154
                                                                                                 206.624.3600


     57138018.v1
     58580731.v1
              Case 2:17-cv-01731-TSZ Document 40 Filed 06/22/18 Page 11 of 11




 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that on June 22, 2018, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6            J. Curtis Edmondson, WSBA #43795                          Via CM/ECF
              399 NE John Olsen Avenue                                  Via U.S. Mail
 7            Hillsboro, Oregon 97124                                   Via Messenger Delivery
 8            Telephone: (503) 336-3749                                 Via Overnight Courier
              Email: jcedmondson@edmolaw.com                            Via Facsimile
 9
10
             DATED this 22nd day of June, 2018.
11
12
                                                   Melinda R. Sullivan
13                                                 Legal Administrative Assistant

14
15
16
17
18
19

20
21
22
23
24
25
26
       REPLY ISO MOTION TO DISMISS DEFENDANT’S                                        FOX ROTHSCHILD LLP
       AMENDED COUNTERCLAIMS - (2:17-CV-01731-TSZ) - 11                             1001 FOURTH AVENUE, SUITE 4500
                                                                                                SEATTLE, WA 98154
                                                                                                     206.624.3600


     57138018.v1
     58580731.v1
